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         2.   The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15
              days of release from custody and at least two periodic drug tests thereafter, not to exceed eight tests per month, as directed by the
              Probation Officer.

         3.   The defendant shall participate in an outpatient substance abuse treatment and counseling program that includes urinalysis, breath
              or sweat patch testing, as directed by the Probation Officer. The defendant shall abstain from using alcohol and illicit drugs, and
              from abusing prescription medications during the period of supervision.

         4.   During the course of supervision, the Probation Officer, with the agreement of the defendant and defense counsel, may place the
              defendant in a residential drug treatment program approved by the U.S. Probation and Pretrial Services Office for treatment of
              narcotic addiction or drug dependency, which may include counseling and testing, to determine if the defendant has reverted to
              the use of drugs. The defendant shall reside in the treatment program until discharged by the Program Director and Probation
              Officer.

         5.   As directed by the Probation Officer, the defendant shall pay all or part of the costs of the drug-ordered treatment to the aftercare
              contractors during the period of community supervision. The defendant shall provide payment and proof of payment as directed
              by the Probation Officer. If the defendant has no ability to pay, no payment shall be required.

         6.   During the period of community supervision, the defendant shall pay the special assessment in accordance with this judgment’s
              orders pertaining to such payment.

         7.   The defendant shall cooperate in the collection of a DNA sample from the defendant.

         8.   The defendant shall submit the defendant’s person, property, house, residence, vehicle, papers, or other areas under the
              defendant’s control, to a search conducted by a United States Probation Officer or law enforcement officer. Failure to submit to a
              search may be grounds for revocation. The defendant shall warn any other occupants that the premises may be subject to searches
              pursuant to this condition. Any search pursuant to this condition will be conducted at a reasonable time and in a reasonable
              manner upon reasonable suspicion that the defendant has violated a condition of his supervision and that the areas to be searched
              contain evidence of this violation.

The Court authorizes the Probation & Pretrial Services Office to disclose the Presentence Report to the substance abuse treatment provider to
facilitate the defendant's treatment for narcotic addiction or drug dependency. Further redisclosure of the Presentence Report by the treatment
provider is prohibited without the consent of the sentencing judge.

The Court recommends that the defendant be allowed to participate in the Residential Drug Abuse Program.

The Court recommends that the defendant be designated to one of the following Bureau of Prison facilities: (1) Terminal Island FCI;
(2) Lompoc FCC; or (3) Other Southern California Bureau of Prison facility that offers Residential Drug Abuse Program.

Remaining Counts are dismissed in the interest of justice.

Bond is ordered exonerated.

The defendant is informed of his right to appeal.




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 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            June 21, 2024
            Date                                                           John W. Holcomb, U.S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                           Clerk, U.S. District Court




            June 21, 2024                                           By
            Filed Date                                                     Clarissa Lara, Deputy Clerk



 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                               STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local              9.     The defendant must not knowingly associate with any persons
       crime;                                                                             engaged in criminal activity and must not knowingly associate with
 2.    The defendant must report to the probation office in the federal                   any person convicted of a felony unless granted permission to do so
       judicial district of residence within 72 hours of imposition of a                  by the probation officer. This condition will not apply to intimate
       sentence of probation or release from imprisonment, unless                         family members, unless the court has completed an individualized
       otherwise directed by the probation officer;                                       review and has determined that the restriction is necessary for
 3.    The defendant must report to the probation office as instructed by                 protection of the community or rehabilitation;
       the court or probation officer;                                             10.    The defendant must refrain from excessive use of alcohol and must
 4.    The defendant must not knowingly leave the judicial district without               not purchase, possess, use, distribute, or administer any narcotic or
       first receiving the permission of the court or probation officer;                  other controlled substance, or any paraphernalia related to such
 5.    The defendant must answer truthfully the inquiries of the probation                substances, except as prescribed by a physician;
       officer, unless legitimately asserting his or her Fifth Amendment           11.    The defendant must notify the probation officer within 72 hours of
       right against self-incrimination as to new criminal conduct;                       being arrested or questioned by a law enforcement officer;
 6.    The defendant must reside at a location approved by the probation           12.    For felony cases, the defendant must not possess a firearm,
       officer and must notify the probation officer at least 10 days before              ammunition, destructive device, or any other dangerous weapon;
       any anticipated change or within 72 hours of an unanticipated change        13.    The defendant must not act or enter into any agreement with a law
       in residence or persons living in defendant’s residence;                           enforcement agency to act as an informant or source without the
 7.    The defendant must permit the probation officer to contact him or                  permission of the court;
       her at any time at home or elsewhere and must permit confiscation           14.    The defendant must follow the instructions of the probation officer
       of any contraband prohibited by law or the terms of supervision and                to implement the orders of the court, afford adequate deterrence
       observed in plain view by the probation officer;                                   from criminal conduct, protect the public from further crimes of the
 8.    The defendant must work at a lawful occupation unless excused by                   defendant; and provide the defendant with needed educational or
       the probation officer for schooling, training, or other acceptable                 vocational training, medical care, or other correctional treatment in
       reasons and must notify the probation officer at least ten days before             the most effective manner.
       any change in employment or within 72 hours of an unanticipated
       change;




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      The defendant must also comply with the following special conditions (set forth below).

          STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check
 or money order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and
 number. Payments must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
                         States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

           CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

           As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial
 statement, with supporting documentation as to all assets, income, and expenses of the defendant. In addition, the defendant must not apply
 for any loan or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying, or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

          The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

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                                  These conditions are in addition to any other conditions imposed by this judgment.




                                                                     RETURN

I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                                By
            Date                                                     Deputy Marshal

                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true, and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                                By
            Filed Date                                               Deputy Clerk



                                                  FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision; (2) extend the term of
supervision; and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                                Date




                      U. S. Probation Officer/Designated Witness                               Date



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